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UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

CASE NO.: 06-23048 CIV LENARD / TORRES

ELI LILLY AND COMPANY individually and
f/u/b/o ELGO INSURANCE COMPANY LIMITED
individually and f/u/b/o

CERTAIN LONDON MARKET REINSURANCE
UNDERWRITERS,

Plaintiffs,
VS.

AIR EXPRESS INTERNATIONAL USA, INC.
d/b/a DHL DANZAS AIR & OCEAN and
d/b/a DHL GLOBAL FORWARDING;

DANZAS CORPORATION d/b/a
DHL GLOBAL FORWARDING;

DEUTSCHE POST WORLD NET d/b/a
DHL DANZAS AIR & OCEAN and
d/b/a DHL GLOBAL FORWARDING;

DHL EXPRESS (USA), INC.,

f/k/a DHL WORLDWIDE EXPRESS (USA), INC.,
d/b/a DHL EXPRESS; and

LUFTHANSA CARGO AG,

Defendants.
/

LUFTHANSA CARGO AG’S ANSWER & AFFIRMATIVE DEFENSE

COMES NOW, the Defendant, LUFTHANSA CARGO AG, (hereinafter referred to as
“LUFTHANSA”) by and through its undersigned attorneys, and hereby files its Answer
and Affirmative Defenses to Plaintiffs Complaint and states as follows:
1.) Lufthansa denies information sufficient to form a belief as the truth of the
allegations set forth in paragraph 1 of the Complaint concerning jurisdiction and

the amount in controversy. All other allegations are admitted.

2.) Lufthansa denies information sufficient to form a belief as the truth of the

allegations set forth in paragraph 2 of the Complaint.
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3.) Lufthansa denies information sufficient to form a belief as the truth of the

allegations set forth in paragraph 3 of the Complaint.

4.) Lufthansa denies information sufficient to form a belief as the truth of the

allegations set forth in paragraph 4 of the Complaint.

5.) Lufthansa denies information sufficient to form a belief as the truth of the

allegations set forth in paragraph 5 of the Complaint.

6.) Lufthansa denies information sufficient to form a belief as the truth of the

allegations set forth in paragraph 6 of the Complaint.

7.) Lufthansa denies information sufficient to form a belief as the truth of the

allegations set forth in paragraph 7 of the Complaint.

8.) Lufthansa denies information sufficient to form a belief as the truth of the

allegations set forth in paragraph 8 of the Complaint.

9.) Lufthansa denies information sufficient to form a belief as the truth of the

allegations set forth in paragraph 9 of the Complaint.

10.) Lufthansa denies information sufficient to form a belief as the truth of the

allegations set forth in paragraph 10 of the Complaint.

11.) Lufthansa denies information sufficient to form a belief as the truth of the

allegations set forth in paragraph H of the Complaint.

12.) Lufthansa admits it is a foreign company doing business in Miami-Dade County,
Florida. Lufthansa Cargo denies the remaining allegations set forth in paragraph
12 as such allegations call for legal conclusions. Lufthansa Cargo does admit that
it contracted to act as an air carrier under the Montreal Convention and/or

subject to the terms of it's master airway bills.
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13.) Lufthansa admits the allegations set forth in paragraph 13 of the Complaint.

14.) Lufthansa denies knowledge information sufficient to form a belief concerning

the allegations set forth in paragraph 14 of the Complaint

15.) Lufthansa denies knowledge information sufficient to form a belief concerning

the allegations set forth in paragraph 15 of the Complaint

16.) Lufthansa denies knowledge information sufficient to form a belief concerning

the allegations set forth in paragraph 16 of the Complaint.

17.) Lufthansa admits that it was engaged to provide air carriage pursuant to the
terms of it's own airway bill and governing international treaties such as the
Montréal Convention. Lufthansa can neither admit or deny the remaining
allegation of paragraph 17 in that the allegations call for legal conclusions.
Further the full copies (with reverse sides) of the airway bill are not attached to
the complaint and such Lufthansa can neither admit or deny the remaining

allegations of paragraph 17 of the Complaint.

18.) Lufthansa denies the allegations set forth in paragraph 18 as directed to
Lufthansa. Lufthansa denies knowledge or information sufficient form a belief as

to the other defendants.

19.) Lufthansa denies the allegations set forth in paragraph 19 as directed to
Lufthansa. Lufthansa denies knowledge or information sufficient form a belief as

to the other defendants.

COUNT I
Lufthansa repeats and alleges each and every response as set forth in the paragraphs
1-19 above
20.) Lufthansa denies knowledge or information sufficient to from a belief as to the

allegations set forth in paragraph 20
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21.) Lufthansa denies knowledge or information sufficient to from a belief as to the
allegations set forth in paragraph 21

22.) Lufthansa denies knowledge or information sufficient to from a belief as to the

allegations set forth in paragraph 22.
COUNT II
Lufthansa repeats and alleges each and every response as set forth in the paragraphs

1-19 above

23.) Lufthansa denies knowledge or information sufficient to from a belief as to the

allegations set forth in paragraph 23.

24.) Lufthansa denies knowledge or information sufficient to from a belief as to the

allegations set forth in paragraph 24.

25.) Lufthansa denies knowledge or information sufficient to from a belief as to the

allegations set forth in paragraph 25.
COUNT III
Lufthansa repeats and alleges each and every response as set forth in the paragraphs
1-19 above
26.) Lufthansa denies the allegations set forth in paragraph 26.
27.) Lufthansa denies the allegations set forth in paragraph 27.

28.) Lufthansa denies the allegations set forth in paragraph 28.

29.) Lufthansa denies the allegations set forth in paragraph 29.
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AFFIRMATIVE DEFENSES

First Affirmative Defense

Complaint fails to state a cause of action.

Second Affirmative Defense
The damages of which Plaintiff complains arose in connection with “international
transportation” within the meaning of the Convention for the Unification of Certain
Rules relating to International Transportation by Air and Additional Protocol concluded
at Warsaw on October 12, 1929, (hereinafter referred to as the “Warsaw Convention”)
and that the rights of the parties are subject exclusively to the provisions of said Warsaw
Convention. 49 Stat. 3000 (1934) T.S. No. 876; 49 U.S.C. Section 40105, and or any
amendments thereto, including but not limited to the Montreal Protocol Number 4 and
the Hague Protocol.

Third Affirmative Defense

Plaintiff has failed to perform the conditions precedent necessary for the maintenance of
this action.

Fourth Affirmative Defense
Plaintiff's state law claims, if any, are preempted by the federal common law. 49 U.S.C. §
41713.

Fifth Affirmative Defense

The occurrence and damages, if any, sustained by Plaintiff, resulted wholly and solely
from the fault, neglect and want of care of Plaintiff or persons and parties other than
Defendant, LUFTHANSA, for whose acts said LUFTHANSA is not liable or responsible,
and was not the result of any negligence, breach of contract, fault of want of care on the

part of LUFTHANSA who, faithfully discharged all of its duties.
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Sixth Affirmative Defense
Plaintiff failed to mitigate or minimize its damages, if any, in that Plaintiff failed to
properly maintain, control, inspect or otherwise conduct their activities and otherwise

failed to take adequate measures to minimize their damages.

Seventh Affirmative Defense

Plaintiff's claims are barred by the equitable principles of waiver, estoppel, and latches.

Fighth Affirmative Defense
At all times material hereto, LUFTHANSA acted upon specific instructions and
directions of Plaintiff and / or its agents only pursuant to said instructions. Thus, by so
instructing LUFTHANSA, Plaintiff is now estopped and precluded from claiming
LUFTHANSA should have rendered services other than those specifically requested and
contracted for. Such estoppel and preclusion specifically includes the claims as alleged

in the Complaint for Damages.

Ninth Affirmative Defense

Any loss or damage as alleged from acts or omissions of agents of Plaintiff for which

LUFTHANSA has no liability.

Tenth Affirmative Defense
Plaintiff has failed to make a timely notice of claim and therefore, the instant action is
barred as a matter of law and / or the actions are barred by applicable statute of
limitations.
Fleventh Affirmative Defense
Plaintiffs are not real parties in interest with regard to the shipment in suit and as such

lack standing to maintain this action against LUFTHANSA.
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Twelfth Affirmative Defense
If the good(s) were damaged as alleged in the Complaint, which LUFTHANSA expressly
denies, the damage was caused by or due to insufficiency of packaging, or inadequacy of |
marks for which LUFTHANSA is not liable pursuant to the applicable provisions of the
airway bill(s), tariffs, contracts of affreightment, and / or other documents or transport
issued for carriage of the shipment or under the applicable provisions of any controlling

statutes, conventions, and / or treaties.

Thirteenth Affirmative Defense
Plaintiffs failed to give a timely written and properly documented notice of loss and / or
damages pursuant to the applicable provisions of the airway bill(s), tariffs, contracts of
affreightment, and / or other documents of transport issued for carriage of the shipment
or under the applicable provisions of any controlling statutes, conventions and / or
treaties.

Fourteenth Affirmative Defense
LUFTHANSA is entitled to all the benefits, protections, limitations and immunities
contained in the applicable provisions of the airway bill(s), tariffs, contracts of
affreightment, and / or other documents of transport issued for carriage of the shipment
or under the applicable provisions of any controlling statutes, conventions and / or
treaties.

Fifteenth Affirmative Defense
The maximum liability of LUFTHANSA, if any, is specifically limited as agreed to in the
provisions of the airway bill(s), tariffs, contracts of affreightment, and / or other
documents of transport issued for carriage of the shipment or under the applicable

provisions of any controlling statutes, conventions and / or treaties.
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Seventeenth Affirmative Defense
This action should be dismissed for improper venue and under the doctrine of forum non
conveniens.

Fighteenth Affirmative Detense
To the extent that LUFTHANSA is found liable, which liability is expressly denied,
LUFTHANSA’S liability cannot exceed the shipper’s declared value for carriage as stated
in the applicable airway bill(s) tariffs, contracts of affreightment, and / or other

documents of transport issued for carriage of the shipment and, in the absence of such a

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per kilogram of goods destroyed, lost, damaged, and / or confiscated.

Nineteenth Affirmative Defense
The shipment described in the Complaint was received, carried and delivered subject to
the terms, conditions and exceptions of the Convention for the Unification of Certain
Rules Relating to International Carriage By Air Done at Montreal on May 29, 1999, as
amended, and / or other legislation pertinent to this carriage. If any loss and / or damage
resulted to the goods, which is denied, it was due to a cause of causes for which
defendant is not liable by virtue of said legislation pertinent to this carriage.

LUFTHANSA, therefore, claims exemption from, and / or the limitation of liability in

accordance with the terms and conditions of said convention.

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Twentieth Affirmative Defense
Plaintiffs denied LUFTHANSA the opportunity to obtain meaningful and relevant
information pertaining to the alleged condition and value of the goods by destroying
evidence, allowing relevant evidence to be disposed, and / or by otherwise preventing
LUFTHANSA timely and full access to such evidence with actions and / or inactions
should properly result in a finding of spoliation barring the Plaintiffs from prosecuting
their claims.
Twenty-first Affirmative Defense

LUFTHANSA preserves the right to plead foreign law depending on discovery which has

not yet occurred.

WHEREFORE, LUFTHANSA, respectfully requests that this Court dismiss the
Complaint in all respects, and award its reasonable costs and attorney fees, and such

other and further relief as may be just, proper and equitable.
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CERTIFICATE OF SERVICE
Respectfully submitted,

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/s/ Andrew R. Spector
ANDREW R. SPECTOR, ESQ.
Florida Bar Na.: 63409

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